     Case 1:17-cv-05370-RMB-KNF Document 50-3 Filed 01/18/19 Page 1 of 10



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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
BEVOLYN DARBY,                                                         :   ECF
Individually and on Behalf of All Other                                :   17 Civ. 5370 (RMB)
Persons Similarly Situated,                                            :
                                                                       :
                                    Plaintiffs,                        :
                                                                       :
                  -against-                                            :
                                                                       :
STERLING HOME CARE, INC., MARK R. ZWERGER, :
MATTHEW G. ANDERSON, MICHELE THOMAS                                    :
EILEEN KILLEEN, and JOHN DOES #1-10,                                   :
                                                                       :
                                    Defendants.                        :
-----------------------------------------------------------------------X

     DECLARATION OF WILLIAM C. RAND IN SUPPORT OF PLAINTIFF’S
  APPLICATION FOR PRELIMINARY APPROVAL OF CLASS AND COLLECTIVE
                       ACTION SETTLEMENT


                                             EXHIBIT C

                          RAND LAW FIRM
                    TIME AND EXPENSE RECORDS
       Case 1:17-cv-05370-RMB-KNF Document 50-3 Filed 01/18/19 Page 2 of 10




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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------------------------------------------X
BEVOLYN DARBY,                                                         :   ECF
Individually and on Behalf of All Other                                :   17 Civ. 5370 (RMB)
Persons Similarly Situated,                                            :
                                                                       :
                                    Plaintiffs,                        :
         -against-                                                     :
                                                                       :
STERLING HOME CARE, INC., STEVEN B. KATZ and :
JOHN DOES #1-10,                                                       :
                                                                       :
                                    Defendants.                        :
-----------------------------------------------------------------------X

                                              TIME RECORDS

Date             Hours             Description

6-28-17       4.4
Meeting with client (1.2); drafting declaration (3.2)

7-13-17      2.3
Drafting summons (.5); drafting civil cover sheet (.5); drafting complaint (1.3)

7-14-17       3.1
Drafting complaint (3.1)

7-15-17       4.1
Drafting complaint (3.7); filing summons and complaint and civil cover sheet (.4)

9-21-17      .8
Reviewing Answer and affirmative defenses and reviewing complaint

11-9-17        3.9
Drafting notice of 30-b-6 deposition (.8); Drafting document requests (3.1)

11-10-17        6.0
Call with defense counsel re settlement (.4); drafting request for admissions (3.1); drafting
interrogatories (2.2); serving discovery by email and mail (.3)
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11-14-17     2.4
Researching amended complaint

11-20-17      .8
Emails and call with defense counsel regarding individuals to be sued in Amended Complaint

11-21-17       3.2
Drafting and filing Amended Complaint (2.6); drafting and sending letters to addresses of client
seeking current contact information (.6)

11-22-17      .8
Reviewing notice of deposition served on Plaintiff (.3); call to Darby re deposition (.5)

11-28-17     1.8
Meeting Darby in office to give status update (.7); drafting revised declaration (1.1)

12-5-17         1.0
Call with Defense counsel re settlement (.7); emailing Defense counsel settlement agreement in
similar case to show structure (.3)

12-17-17      3.7
Drafting motion for collective action certification and supporting brief

12-18-17       .5
Call with defense counsel regarding settlement and stipulating to collective action notice

12-19-17       2.1
Drafting stipulated order and notice regarding collective action (1.6); emailing it to defense
counsel with explanation (.1); call and emails with defense counsel re discovery and deadlines to
respond (.4)

1-4-18        1.1
Reviewing and finalizing Order and notice regarding collective action and returning to Defense
counsel (1.1)

1-5-18          .7
Drafting and mailing and emailing Owner liability to individual defendants (.6); email regarding
collective action order and notice (.1)

1-8-17         1.9
Emails with defense counsel and finalizing stipulation and notice and filing (1.6); drafting letter
to judge with courtesy copy (.3)

1-24-18        .6




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Calls with Magistrate’s clerk (.2) and Judge’s Clerk (.1) re status of motion/stipulation re notice
and emails to Defense counsel with status report (.1); emails to defense counsel re discovery and
extending deadline (.2)

1-30-18     1.3
Reviewing Document Requests and interrogatories served on Plaintiff

2-13-18       1.1
Calls and emails with Defense counsel re discovery

3-6-18       .9
Reviewing judge’s revisions and revising notice and sending to defense counsel

3-7-18         .4
Sending notice and list to mailing service for quote (.1); call and email with defense counsel re
list and how created (.3)

4-2-18        .5
Organizing and filing opt-in statements (.5)

4-6-18          4.5
Organizing and filing opt-in statements (.5); calls to opt-ins to leave message to confirm receipt
of opt-in statements (.5); call with Patrick Gayle (.4); call with Kenesha Tomlinson (.3); call with
Alice Thompson (.4); call with Sharon Gray (.3); call with Nandanee Somai (.3); call with
Theresa Obach (.4); call with Marcia Talbert (.2); call with Mareshalee Grant (.3); call with
Beverly Cole (.3) call with Ada Caqsho (.2); call with Andrea Capleton (.4)

4-2-18        1.8
Organizing and filing opt-in statements (.5); Meeting with Theresa Obaah (1.3)

4-6-18        .5
Organizing and filing opt-in statements

4-10-18        7.0
Organizing and filing opt-in statements (.5); calling opt-in plaintiffs to confirm receipt and
explain case (3.1); meeting with Theresa Obaah; (2.1); drafting declaration for Obaah (1.3)

4-11-18       3.4
Meeting with Patrick Gayle (2.2); drafting declarations (1.2)

4-12-18       .5
Organizing and filing opt-in statements

4-16-18       .5
Organizing and filing opt-in statements


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4-18-18       4.1
Meeting with Primrose Scott (2.1); reviewing payroll documents (.7); drafting declaration (1.3)

4-20-18       .9
Organizing and filing opt-in statements (.5); call with potential opt-in who did not want to give
name (.4)

4-25-18       1.3
Organizing and filing Opt-in Forms and calling opt-ins

5-3-18         4.4
Meeting with Ida Wallace and Veronica Wallace (2.3); reviewing paystubs (.5) drafting
declarations (1.6); status conference call with court (.8)

5-4-18        1.2
Organizing and filing Opt-in Forms and calling opt-ins

5-16-18       1.0
Organizing and filing Opt-In Forms and calling opt-ins

5-24-18       .6
Organizing and filing Opt-In Forms and calling opt-ins

5-30-18        .7
Call with Jessica Weston (.5) emailing defense counsel that she is being retaliated against as she
received no work after she joined suit (.2)

5-31-18       .9
Calls and emails with defense counsel re retaliation (.6); call with Weston (.3)

6-1-18       .5
Reviewing and commenting on Defense counsel letter to court re discovery deadline extensions

6-5-18       .4
Reviewing court order re discovery (.1); emails with defense counsel re discovery plan (.3)

6-14-18       1.0
Call and emails with defense counsel regarding discovery schedule (.5); reviewing and
commenting on Defense counsel’s letter to the court (.5)

7-13-18       .5
Call and emails with defense counsel re discovery




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7-19-18       3.1
Reviewing damage spreadsheet from Defense counsel re opt-ins (2.6); call with defense counsel
to ask why formulas are not shown and to request spreadsheet with formulas (.5)

9-7-18         .8
Call with defense counsel regarding potential settlement structures

10-8-18        6.1
Drafting collective and class settlement agreement with blank amounts (5.6); call to defense
counsel to discuss proposed form of agreement (.5)

10-11-18       2.5
Drafting settlement agreement with blanks for amounts (2.4); emailing to defense counsel (.1)

10-22-18     4.2
Reviewing payroll and time records and employment records of Darby

10-26-18       6.8
Reviewing payroll records of Darby (1.4); creating spreadsheet to calculate 24 hour damages
(4.7); emailing spreadsheet to defense counsel and calling defense counsel to explain spreadsheet
(.7)

11-6-18        2.0
Calls with defense counsel (1.3); conference call with Magistrate Fox (.7)

11-9-18          1.8
Reviewing letter spreadsheet related to overtime (.7); emailing 5 employees for documents to
check spreadsheet (.2); reviewing and revising joint letter to court re settlement (.4); call with
client re status and settlement (.5)

11-20-18      6.5
Reviewing payroll of sample employees and comparing to spreadsheet (5.1); reviewing
Defendants’ settlement agreement revisions (1.4)

11-27-18        1.0
Call to Client re Settlement (.5); revising settlement spreadsheet and emailing Defense counsel
revised settlement offer (.5).

12-4-18       .9
Call with Defense counsel re Settlement counteroffer (.4) call to Darby re offer (.5)

12-5-18        .9
Call to Darby re Settlement (.4); revising settlement spreadsheet and emailing Defense counsel
revised settlement offer (.5).




                                                   5
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12-10-18      1.0
Call with Defense counsel re Settlement counteroffer (.5) call to Darby re offer (.5)

12-12-18       2.0
Call to Darby to discuss revised settlement offer (.3); revising spreadsheet and sending revised
settlement offer to defense counsel (.4)

12-13-18      1.7
Calls with Defense counsel re settlement (1.2); reviewing and commenting on letter to
Magistrate seeking extension of discovery deadline (.5)

12-17-18        1.7
Call with Defense counsel re rejection of request for discovery extension and settlement (1.0);
call with client re status of case and settlement (.7)

12-18-18       3.5
Calls with Defense counsel (.8); calls with client (.9); reviewing spreadsheets and
correspondence (1.3); drafting and filing letter to court requesting stay and giving notice of
settlement in principle (.5)

1-10-19       6.4
Reviewing and checking overtime damage calculations of class members (5.2); Creating Exhibit
E using Excel Spreadsheet information (1.2)

1-11-19       3.7
Meeting to go over settlement agreement and evidence with Darby and to get her signature

1-16-19        3.1
Drafting and researching motion for preliminary approval

1-17-19       6.1
Drafting motion for preliminary approval of settlement (4.3); drafting declaration in support of
motion (1.8)

1-18-19        10.4
Drafting and filing motion for preliminary approval of settlement

[Future Time 40]

Total Hours    198.1

Expenses                              $1,501.40
Complaint Filing       $400
Complaint Service      $65
Notice Mailing         $1,036.40


                                                  6
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      Invoice
        Invoice #
                                                                                                              Date
          18112                                           3194-C Airport Loop Drive
                                                           Costa Mesa, CA 92626                           3/31/2018
                                                            Phone: 800-779-2104

     Bill To
   William C. Rand
   LAW OFFICE OF WILLIAM COUDERT RAND
   501 Madison Ave., 15th Floor
   New York, NY 10017




                                                                     Bid Number          Terms                    Due Date

                                                                         8406         Due on receipt              4/30/2018

                                       Description                                    Quantity         Rate           Amount

Case Name: Darby v Sterling Home Care, Inc. - Mailing Only
Mailing Date: 3/20/18



Fixed Amount/Flat Fee - Mailing Only                                                      1            1,036.40         1,036.40




Thank you for your business.
                                                                                      Total                            $1,036.40


               Please make checks payable to Simpluris, Inc.                          Payments/Credits                        $0.00
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               accounting@simpluris.com (714) 640-5639
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